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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

COURTNEY LINDE, et al.
Case No. CV 04 2799 (NG)(VVP) and all
related cases”
Plaintiffs,
-against-
ARAB BANK, PLC,
Defendant.

PLAINTIFFS’ REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF THEIR
MOTION TO EXCLUDE THE EXPERT WITNESS TESTIMONY OF ROBERT LACEY

*

Litle, et al. v. Arab Bank, PLC, No. CV-04-5449 (E.D.N.Y. 2004) (NG)(VVP); Almog, et al. v. Arab Bank,
PLC, No. CV-04-5564 (E.D.N.Y. 2004) (NG)(VVP); Coulter, et al. v. Arab Bank, PLC, No. CV-05-365 (E.D.NLY.
2005) (NG)(VVP); Afriat-Kurtzer, et al. v. Arab Bank, PLC, No. CV-05-388 (E.D.N.Y. 2005) (NG)(VVP); Bennett,
et al. v. Arab Bank, PLC, No. CV-05-3183 (E.D.N.Y. 2005) (NG)(VVP); Roth, et al. v. Arab Bank, PLC, No. CV-
05-3738 (E.D.N.Y. 2005) (NG)(VVP); Weiss, et al. v. Arab Bank, PLC, No. CV-06-1623 (E.D.N.Y. 2006)
(NG\(VVP); Jesner, et al. v. Arab Bank, PLC, No. CV-06-3869 (E.D.N.Y.) (NG)(VVP); Lev, et al. v. Arab Bank,
PLC, No. CV-08-3251 (E.D.N.Y. 2008) (NG)(VVP); and Agurenko, et al. v. Arab Bank, PLC, No. CV-10-626
(E.D.N.Y. 2010) (NG)(VVP).

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PRELIMINARY STATEMENT

Defendant Arab Bank’s Opposition (“Def. Mem.”) to Plaintiffs’ motion (“Plaintiffs’
Mem.”) to exclude Robert Lacey’s testimony and opinions fails to rebut Plaintiffs’ arguments
that his testimony is irrelevant, unreliable, and inadmissible. The Bank seeks to have Lacey offer
testimony that directly conflicts with this Court’s prior decisions, and — setting aside the Bank’s
failure to establish that Lacey is adequately qualified to offer his opinions, that he applied a
reliable methodology, and/or accounted for relevant materials - would result in irrelevant and
unfairly prejudicial testimony to the jury. The Bank claims that “Plaintiffs must prove that the
Saudi Committee [in Support of the Al-Quds Intifada] was controlled by Hamas.” Def.’ Mem. at
1. This, however, is an inaccurate characterization of Plaintiffs’ burden at trial with respect to
facts concerning the Saudi Committee in Support of the Al-Quds Intifada (“Saudi Committee”).

Plaintiffs’ claims arise under 18 U.S.C. § 2333(a) and are premised on, inter alia,
violations of 18 U.S.C. § 2339B which criminalizes the provision of “material support or
resources” to designated foreign terrorist organizations. To establish tort liability for violations
of Section 2339B, Plaintiffs must demonstrate that the Bank’s role in connection with the Saudi
Committee’s disbursement program constituted knowing, intentional, willfully blind, or reckless
provision of material support to Hamas. Plaintiffs bear no burden to prove that the Saudi
Committee was controlled by Hamas (or any other terrorist entity), but simply that the Bank
understood that the Saudi Committee program of martyr, wounded, and prisoner payments —
regardless of who “controlled” the Saudi Committee - was channeling funds to, or at the
direction of, Hamas members and organizations. By mischaracterizing and misinterpreting this

Court’s prior decisions setting forth Plaintiffs’ burden at trial, the Bank now tries to introduce
Lacey’s irrelevant (and unreliable) conclusions that the Saudi Committee “is not a Hamas-
controlled organization.” Def. Mem. at 3.

Not satisfied with eliciting irrelevant opinions from a putative expert with no specialized
knowledge of the Saudi Committee before being approached by counsel (see Lacey Dep. at
87:20-87:23), the Bank seeks to introduce Lacey as an expert who can guide the jury through
material that a jury is perfectly capable of comprehending without Lacey’s elucidation. Worse,
the Bank engages in this exercise in an improper attempt to have the jury draw an unwarranted
inference that the information Lacey identified was the only type of information the Bank
supposedly could have known about the Saudi Committee because the latter was a customer of
its correspondent bank, Arab National Bank.! Leaving aside Lacey’s lack of “specialized
knowledge” — or knowledge of any kind regarding Arab Bank’s extensive operations in the
Palestinian Territories — Lacey possesses no expertise whatsoever on banking practice or what
the Bank might have known from its position within the Palestinian Territories. There is no
evidence that Arab Bank actually examined any public information regarding the Saudi
Committee. Therefore, what was available is completely irrelevant as there is no evidence to
suggest that the Bank reviewed or considered any such information. His testimony should be
excluded in its entirety.

ARGUMENT
I. LACEY’S OPINION REGARDING WHETHER THE SAUDI COMMITTEE IS

TERRORIST-CONTROLLED. IS IRRELEVANT TO THE ISSUES IN THESE
CASES

This Court has correctly recognized that Plaintiffs’ claims in these cases reflect two

theories (each of which, if proven, satisfies any causation requirement for all Plaintiffs’ claims):

! See Def. Mem. at 4. Arab Bank fails to divulge that its correspondent bank, Arab National Bank, is 40%-
owned by Arab Bank as listed on Arab Bank’s own website at
http://www.arabbank.com/en/gbnetwork.aspx?CSRT=4963 101619002236574 (last accessed on July 12, 2012).

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(1) that the Bank is liable because it knew that the payments and services it provided to or for the
Saudi Committee and Committee beneficiaries incentivized terrorism and constituted support for
Hamas and (2) that the Bank is liable because it maintained accounts, provided services, and/or
transmitted funds and other material support to various organizations and individuals who were
part of, controlled by, fronts for, or agents of Hamas. See Linde v. Arab Bank PLC, 384 F. Supp.
2d 571, 582 (E.D.N.Y. 2005). The Court has also held that “plaintiffs need not prove motive in
order to succeed in their claims,” and Your Honor has confirmed that “in order to prevail on their
claims premised on the Bank’s alleged administration of the death and dismemberment benefit
plan, [Plaintiffs] must prove that each of the victims was in fact killed by terrorists (as defined in
the statute and as opposed, for example, to apolitical criminals) and that each of the killers was
within the coverage of the plan.” Jd. at 585.

Thus, as far as the Bank’s liability in connection with its Saudi Committee activities are
concemed, none of these holdings requires Plaintiffs to prove that the Saudi Committee was
“controlled” by Hamas. Plaintiffs simply must demonstrate (for attacks attributable to Hamas
that will comprise a first trial) that the Bank’s conduct constituted material support to Hamas.
And that can (and will) be demonstrated by the fact that the preponderance of the evidence
demonstrates that notorious Hamas organizations helped design the program and identify Saudi
Committee beneficiaries and ensure that they received payment, and that the Committee
routinely paid open, obvious, and often notorious Hamas members and their families. Indeed,
Plaintiffs’ expert Arieh Dan Spitzen has delivered a detailed, comprehensively-sourced analysis
of those very issues. But, to reiterate, none of that turns on whether Hamas “controlled” the
Saudi Committee. The fact that the Saudi Committee might be “independent” has no bearing on

whether the Bank knew, deliberately ignored, or recklessly disregarded the risk that facilitating

payments under the Saudi Committee program provided material support to or for the benefit of
Hamas in myriad ways.

Notwithstanding the law of this case, the Bank’s Opposition touts the conclusions
provided by Lacey stating that “the Saudi Committee was not a terrorist-controlled
organization.” See generally Def. Mem. Again, the relevant issue here is not whether Hamas —
or any other specific terrorist organization — controlled the Saudi Committee but rather whether
the Bank, though, inter alia,’ the Saudi Committee program, provided material support or
resources to terrorists, a designated Foreign Terrorist Organization (Hamas), or in a manner that
(in whole or part) supported terrorism through the death-and-dismemberment scheme and what
Arab Bank’s state of mind was when it engaged in that conduct, Lacey’s opinions are irrelevant,
confusing, and fraught with the risk of unfairly prejudicing and misleading the jury regarding
relevant issues for their consideration.

Expert evidence is admissible where it assists “the trier of fact to understand the evidence
or to determine a fact in issue.” See Fed. R. Evid. 702. Nevertheless, “[e]xpert testimony which
does not relate to any issue in the case is not relevant and, ergo, non-helpful.” Daubert v.
Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579, 591 (1993). Whether or not the Saudi

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Committee is controlled by Hamas” is not relevant to the issues in this case addressing Arab

Bank’s conduct.

> Plaintiffs will also demonstrate that, separate and apart from the Saudi Committee program, the Bank
maintained accounts for notorious Hamas members, leaders, and their families, and transmitted payments to them.

3 Parenthetically, even assuming this issue was relevant, Lacey’s analysis is methodologically unsound,
having conceded at his deposition that he only reviewed approximately 50 or 60 wire-transfer records produced by
Arab Bank (despite the fact that there are nearly 176,000 records) and only recalled reviewing a number of
unspecified charts of recipients of Saudi Committee aid through Arab Bank. Plaintiffs’ Mem. at 18. That is in
obvious marked contrast to Mr. Spitzen’s intensive analysis of thousands of records, recipients, and Saudi
Committee program mechanics.

Il. LACEY LACKS ANY DEMONSTRABLE EXPERTISE ON A FINANCIAL
INSTITUTION’S OBLIGATIONS

In addition to addressing the irrelevant question of whether Hamas “controlled” the Saudi
Committee, Arab Bank also seeks to offer Lacey as an expert to inform the jury on what a
financial institution supposedly would have known about the Saudi Committee through public-
domain searches. See Def. Mem. at 12 (stating “Mr. Lacey’s conclusion that a financial
institution could reasonably have concluded, based on objective factual evidence, that the Saudi
Committee was a charitable and humanitarian organization”). Putting aside, as discussed in
Section III below, that this is an’ improper opinion regarding the Bank’s state of mind and is
barred by this Court’s December 6, 2011 Order, the Bank’s rationale collapses given that Lacey
conceded at his deposition that his expertise:

(1) “is not in the area of what the bank did” (Lacey Dep. 281:4-281:5 (emphasis added));

(2) did not encompass what Arab Bank thought or knew when it processed wire transfers
from the Saudi Committee (Lacey Dep. 278:23-295:5);

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(3) did not include knowledge of “account opening activities”, “account document
management”, and “know your customer rules” (Lacey Dep. 272:9-273:23);

(4) did not encompass money laundering (Lacey Dep. 270:20-270:22); and

(5) did not extend to the subject of how terror organizations finance themselves (Lacey
Dep. 116:7-116:10, 270:23-271:3).

In truth, Lacey has no idea what a reasonable financial institution would, or should, know about
incoming wire transfers or the distribution of funds over-the-counter to non-accountholders of a
financial. institution, and.no-amount-of citation to: cases-on reasonable reliance“overcomes these”
deficiencies — especially in light of the Bank’s continued refusal to produce account-opening
information or cash-distribution documentation for the Saudi Committee payments distributed by

the Bank in the Palestinian Territories.

The Bank cites CDR-Wantaugh, Inc. v. Shell Oil Co., No. 07-CV-4497 (DRH)(ETB),
2011 U.S. Dist. LEXIS 19717 (E.D.N.Y., Feb. 28, 2011), to support the premise that an expert
can “evaluate the reasonableness of a party’s conclusions or apprehension of particular facts or
circumstances.” Def. Mem. at 11. In CDR-Wantaugh, the expert in question was an experienced
real estate, land use, and zoning attorney with over 50 years of specialized experience who
opined as to what a reasonable attorney would recommend to a client seeking to lease property
that was subject to an open Department of Environmental Conservation case requiring
remediation and re-testing efforts of the soil on the land. 2011 U.S. Dist. LEXIS 19717, at *14-
*15. By contrast, Lacey is an author with no background whatsoever in financial services,
banking, or what banks are expected to know, suspect, or investigate. Nevertheless, he is
proffered as an expert on precisely such issues. The distinction between the circumstances is
salient. The Bank’s effort to deploy an unqualified expert offering irrelevant opinions to elicit
unwarranted inference by a jury regarding Defendant’s mens rea must be rejected.‘

Lacey’s opinion should also be excluded because Bank officials have testified that they

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never searched for any public information about the Saudi Committee.” Notwithstanding

Lacey’s lack of qualification in this area, in order for such evidence to be potentially admissible,

* The same is true of LaSalle Bank N.A. v. CIBC Inc., No. 08-CV-8426, 2012 U.S. Dist. LEXIS 18503, at
*5 (S.D.N.Y., Feb. 14, 2012), where Judge Pauley merely held that Fed. R. Evid. 702 permits “expert testimony
describing relevant background information, such as customary and industry practice in a given field, ... if it will be
helpful to the jury.” Here, Lacey has no knowledge about industry practice in the banking field, and to permit him
to provide testimony about what conclusions a reasonable financial institution would draw would be improper.

° For example, the Bank’s Head of Operations and Regional General Manager in the Palestinian Territories
testified he was unaware the Saudi Committee maintained a website. See Mohammad Al-Tahan Dep. Tr. (May 8,
2007) at 174:2-174:4; Mazen Abu Hamdan Dep. Tr. (Nov. 20, 2009) at 178:19-179:21 (also stating he did not
believe that the Head of Compliance would have known this fact either). The Bank’s former Regional Manager in
the Palestinian Territories when the Saudi Committee began operating and former chief banking officer for the Bank
also testified that the Bank did “[nJot necessarily” do anything to determine the veracity of his statement that the
“sole role [of the Saudi Committee] is to pass humanitarian and economic and relief aid to the Palestinian
Territories.” Shukri Bishara Dep. Tr. (Nov. 13, 2010) at 120:10-120:17. He also stated that he had never seen any
“know your customer” material related to the Saudi Committee (Ud at 129:8-129:11) and, like his colleagues, had
not seen the website of the Saudi Committee. Shukri Bishara Dep. Tr. (Nov. 15, 2010) at 483:2-483:3. Excerpts of
this testimony have been appended to the Declaration of John M. Eubanks which is attached hereto.

there must be a showing to suggest an effort was made to determine whether the Saudi
Committee was supporting terrorism. Here, no such effort was made, and the Bank relied on the
word of its correspondent bank/affiliate, Arab National Bank, rather than independently
investigating the Saudi Committee which funneled nearly $100 million through Arab Bank
between December 2000 and 2005.

IU. THE BANK’S ATTEMPTS TO RECAST LACEY’S OPINIONS AS SOMETHING

OTHER THAN TESTIMONY REGARDING STATE OF MIND, INTENT, AND
MOTIVE ARE UNAVAILING

Defendant argues that because Lacey’s Reports do not contain the words “state of mind”
or “motive” his opinions cannot reflect testimony regarding state of mind, intent, or motive. As
Plaintiffs’ initial memorandum chronicled in detail, this argument is an ineffective smokescreen.
Given that that Court’s December 19, 2001 ruling struck Defendant’s banking experts’ efforts to
offer opinions on Arab Bank’s state of mind, it would be utterly incongruent to allow Lacey to
deliver substantively similar state-of-mind opinions. See Dec. 19, 2011 Tr. at 6:20-7:14.
Furthermore, the Court’s December 6 Order holds “[i]nsofar as many of the expert reports
submitted by the defendant express opinions as to the state of mind, intent, or motive of a
government, a charitable entity, or a person, they do not contain relevant expert evidence.”
December 6 Order at 4. Nevertheless, this is precisely what Lacey attempts to do. Indeed, he
conceded in his deposition that “my focus was on the motives of the Saudi Committee as
expressed in what they said and in what they did.” Lacey Dep. 288:6-288:8. The Bank’s
Opposition fails to convert Lacey’s anticipated opinions to anything other than improper state-of-
mind testimony and should be excluded for the reasons explained in Plaintiffs’ Mem. at 5-12

(regarding Lacey’s testimony on state of mind, intent, and motive).

IV. LACEY LACKS THE SPECIALIZED KNOWLEDGE REQUIRED TO QUALIFY
HiM AS AN EXPERT ON THE SAUDI COMMITTEE

Notwithstanding the Bank’s citation-less declaration that Lacey “has been recognized as
one of the foremost experts on Saudi Arabia, including its history, politics, culture, and
government” (Def. Mem. at 16), the fact remains that he is serving as the Bank’s expert witness
on the Saudi Committee despite the fact that, before being approached by counsel in a consulting
capacity, he had never heard of the Saudi Committee while it was in existence as the “Saudi
Committee in Support of the Al-Quds Intifada.” As he testified in his deposition, “I first learned
about [the Saudi Committee in Support of the Al-Quds Intifada] when I was approached by
representatives of counsel to see if I could tell them anything about Prince Naif and his charitable
activities.” Lacey Dep. 87:20-87:23. He also conceded that he had no files or research materials
on the Saudi Committee prior to 2009. Lacey Dep. 88:4-88:18.

Nevertheless, the Bank argues that “[a]n expert may be deemed to possess specialized
knowledge with regard to issues upon which he has not received formal training or with which
he lacks experience.” Def. Mem. at 18. In McCullock v. H.B. Fuller Co., 61 F.3d 1038 (2d Cir.
1995), the case cited by Defendant to support this assertion, the expert at issue was asked to
opine on the impact of hot-glue fumes on an employee of a book binder.. The expert lacked
academic qualifications; however, the court held that he was qualified based upon, inter alia,
“background industrial experience with ventilation; and practical experience with fumes”
causing his analysis to go “far beyond that of a layman.” 61 F.3d at 1043.

Here, Lacey’s “specialized knowledge” involves little more than living in Saudi Arabia

outside of the relevant time period of this case® and writing two books that do not even mention —

5 Defendant stresses that Lacey “‘is the only expert witness in this litigation, including Plaintiffs’ expert on
the Saudi Committee, Mr. Spitzen, to have lived in Saudi Arabia for extended periods of time ... and to have
conducted many interviews over the years with members of its citizenry and its official leadership.” Def. Mem. at

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much less discuss — the specific issue for which he is offering his expert opinion, the Saudi
Committee. He has no prior experience with the subject matter, and a lay juror could review the
documents he has allegedly reviewed without requiring expertise to do so. Allowing Lacey to
provide “expert” testimony based almost exclusively on after-acquired data in the public domain
of which he had no knowledge prior to his retention as an expert would be to “supplant ... the
role of the jury in interpreting the evidence.” In re Rezulin Prods. Liab. Litig., 309 F. Supp. 2d
531, 541 (S.D.N.Y. 2004).’

Likely recognizing the weakness of its arguments, the Bank reverts to arguing that any
issues that Plaintiffs have with Lacey’s methodology go only to the weight and not the
admissibility of his opinions. The cases cited by the Bank are inapposite. [Each case is
concerned with whether the experts’ reports were unreliable because of analytical failings.®
Here, by contrast, Lacey took official statements in the press from the Saudi Committee at face
value and did not even attempt to consider “obvious alternative explanations.” See Deutsch v.
Novartis Pharm. Corp. 768 F. Supp. 2d 420, 426 (E.D.N.Y. 2011) (stating “whether the expert
has adequately accounted for obvious altemative explanations” as one factor in determining
reliability of an expert witness’ opinions). Without any factual or analytical basis, he opined that

he has “seen no evidence that such aid to families [from the Saudi Committee] — even to the

21. Even in this argument, though, the Bank concedes that Plaintiffs’ expert on the Saudi Committee, Mr. Spitzen,
actually “researched the Saudi Committee on the behalf of the Israeli government” during the time period relevant to
the allegations in these cases. /d. atn.14. This is something that Lacey never did.

’ Plaintiffs’ arguments regarding the lack of rigor in Lacey’s methodology were set forth in their initial
memorandum. See Plaintiffs’ Mem. at 12-20.

® In Dyler v. Bethlehem Steel Corp., 958 F.2d 1176 (2d Cir. 1992), a wrongful termination case, Bethlehem
Steel argued that plaintiffs damages expert should have been excluded because his testimony was based on two
unfounded assumptions concerning how long the plaintiff would have continued working at Bethlehem Steel and
what his annual raises would have been. The court stated that these assumptions were matters for the jury, and not
the expert, to decide. Jd. at 1188. Similarly, in Campbell ex rel. Campbell v. Metropolitan Property and Cas. Ins.
Co., 239 F.3d 179 (2d Cir. 2001), a case concerning lead-poisoned children, defendant moved to exclude plaintiffs’
expert who testified that the poisoning occurred concurrently with the exposure, arguing that there were “gaps and
inconsistencies” in his reasoning. Jd. at 186. Denial of this motion was also upheld, as going to weight rather than
admissibility. Jd.

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families of suicide bombers — ‘strengthened the support for continuing the attacks’” (Lacey
Report at § 8) despite his admissions that he: (1) has never worked in or visited the Palestinian
Territories (where the recipients of this aid resided) (Lacey Dep. 70:25-71:2); (2) has not studied
in detail the activities of Hamas, the Palestinian Islamic Jihad, or the Al-Aqsa Martyrs’ Brigades
(Lacey Dep. 99:22-99:23); (3) is not an expert on how terror organizations finance themselves
(Lacey Dep. 116:7-116:10, 270:23-271:3); and (4) had no “opportunity to understand or learn
exactly how it was that those committees [in the Gaza Strip and the West Bank] selected who
they selected to receive payments from the Saudi Committee” because his “expertise really stops
at the Saudi end of things” (Lacey Dep. 119:7-119:13). In short, the Bank seeks the benefit of
the doubt to allow this simply to go to the weight rather than the admissibility of his testimony
despite offering a witness with no adequate basis to assert the supposedly expert opinions he is
asserting. Allowing Lacey to testify would run contrary to the Daubert gatekeeping function.
CONCLUSION
For the reasons set forth above and in Plaintiffs’ opening memorandum, Plaintiffs

respectfully request that the Court exclude Robert Lacey as an expert witness in this case,
together with such further relief as the Court may deem appropriate.
Dated: July 16, 2012 Respectfully submitted,

/S/ John M. Eubanks

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CERTIFICATE OF SERVICE
The undersigned hereby certifies that, on July 16, 2012, a copy of the foregoing Reply
Memorandum in Support of Plaintiffs’ Motion to Exclude the Expert Testimony of Robert

Lacey, was served by CM/ECF and email on all counsel of record in the above-referenced cases.

/S/ John M. Eubanks
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